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               ATTACHMENT 1(a) TO CIVIL COVER SHEET

 Defendants:

 MINDGEEK S.A.R.L.

 MG FREESITES, LTD.

 MINDGEEK USA INCORPORATED

 MG PREMIUM LTD.

 RK HOLDINGS USA INC.

 MG GLOBAL ENTERTAINMENT INC

 TRAFFICJUNKY INC.

 BERND BERGMAIR

 FERAS ANTOON

 DAVID TASSILLO

 COREY URMAN

 VISA INC.

 COLBECK CAPITAL DOES 1-10

 BERGMAIR DOES 1-10
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                                     #:195



                  ATTACHMENT 1(c) TO CIVIL COVER SHEET

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